869 F.2d 1488
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Dallas ANGST, Plaintiff-Appellant,v.Otis R. BOWEN, Secretary of Health and Human Services,Defendant-Appellee.
    No. 88-1083.
    United States Court of Appeals, Sixth Circuit.
    Feb. 22, 1989.
    
      Before KRUPANSKY and BOGGS, Circuit Judges, and GEORGE CLIFTON EDWARDS, Jr., Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Plaintiff-appellant Dallas Angst (Angst), has appealed the decision of the district court granting summary judgment in favor of the Secretary of Health and Human Services (Secretary), denying Angst's application for disability insurance benefits.  Upon a review of the claimant's assignments of error, the record in its entirety, the briefs of the parties and the arguments of counsel, this court concludes that the Secretary's denial of disability benefits is supported by substantial evidence.
    
    
      2
      Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the Magistrate's Report of September 29, 1987 as adopted by the district court of November 24, 1987.
    
    